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                EXHIBIT 6
     Case: 1:20-cv-02322-DAR Doc #: 56-6 Filed: 12/27/23 2 of 2. PageID #: 846


From:                  Kyle D. Stroup
To:                    Peter Curtin
Cc:                    Yichen Cao; Campbell, Jay R.; Petruzzi, Anthony R.; Jon J. Pinney; Jon W. Groza; Nathan F. Studeny; Ostrowski,
                       Carter S.
Subject:               RE: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO
Date:                  Friday, November 10, 2023 6:18:12 PM
Attachments:           Aukey - 30(B)(6) Notice FOR DISCUSSION - 4894-9272-5392 1.pdf
                       HuiMing - 30(b)(6) Notice FOR DISCUSSION - 4879-3644-2000 1.pdf
                       WorldUS - 30(B)(6) Notice FOR DISCUSSION - 4857-3220-3920 1.pdf
                       NOCO Amended Initial Disclosures - 4876-5712-7312 1.pdf
                       NOCO"s Supplemental Responses to Aukey"s First Set of ROGs - 4877-2174-5808 1.pdf
                       Letter to P. Curtin 11.10.23 - 4878-1480-6928 1.pdf
                       HuiMing - 30(b)(6) Notice - 4880-7183-4164 2.docx
                       Aukey - 30(B)(6) Notice - 4854-0183-1732 2.docx
                       WorldUS - 30(B)(6) Notice - 4886-5523-5380 3.docx


Pete:

Please find the attached correspondence and NOCO’s Amended Initial Disclosures, Supplemental
Responses to Aukey’s First Set of Interrogatories, and Rule 30(b)(6) notices for discussion (with Word
versions as well).

Thank you,

KYLE D. STROUP
Associate | KJK


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KJK.com | Confidentiality Notice


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From: Peter Curtin <pcurtin@analectslegal.com>
Sent: Wednesday, September 27, 2023 9:19 PM
To: Kyle D. Stroup <kds@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Petruzzi, Anthony R. <anthony.petruzzi@tuckerellis.com>; Jon J. Pinney <jjp@kjk.com>; Jon W.
Groza <jwg@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Ostrowski, Carter S.
<Carter.Ostrowski@tuckerellis.com>
Subject: Re: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO

Hi Kyle - Further to our emails earlier today, our team is available for a call tomorrow afternoon.
Does 3PM Eastern/2 PM Central work for your team? If not, please propose another time.

Pete Curtin

Sent from my iPhone
